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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, et al.,
                             Plaintiffs,
                                                Case No. 1:20-cv-03010-APM
        v.
                                                HON. AMIT P. MEHTA
 GOOGLE LLC,
                             Defendant.


                                   PROPOSED ORDER

       At the District of Columbia this ___ day of December, 2024, having considered the

Motion of Nonparty OpenAI, Inc. seeking the admission pro hac vice of Ashok Ramani (ECF

No. ___), and the Declaration of Ashok Ramani submitted in support of the Motion;

       IT IS HEREBY ORDERED that the Motion is GRANTED.



                                                Hon. Amit P. Mehta
                                                UNITED STATES DISTRICT JUDGE
